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                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

    In re:                                                     § Chapter 11
                                                               §
    ZENERGY BRANDS, INC., et al.,1                             § Case No. 19-42886
                                                               §
                    Debtors.                                   § (Jointly Administered)

                                  LIMITED MASTER SERVICE LIST
                                       As of November 11, 2019

             Attached are clean and redlined copies of the updated Limited Master Service List (as of

November 11, 2019) filed and to be used in accordance with the Court’s Order Granting Chapter

11 Complex Case Treatment [Docket No. 56].

Dated: November 11, 2019                                      By:     /s/Stephen D. Cady
                                                              Stephen D. Cady
                                                              Stretto
                                                              410 Exchange
                                                              Suite 100
                                                              Irvine, CA 92602
                                                              Telephone: 855-366-3672
                                                              Email: TeamZenergy@stretto.com


                                                              CLAIMS AND NOTICING AGENT
                                                              FOR THE DEBTORS




_________________________________________
1
  The Debtors in the above-captioned chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Zenergy Brands, Inc. (1686); NAUP Brokerage, LLC (7899); Zenergy Labs, LLC (8045);
Zenergy Power & Gas, Inc. (1963); Enertrade Electric, LLC; Zenergy & Associates, Inc. (4022); and Zen
Technologies, Inc. (7309). The above-captioned Debtors’ mailing address is 5700 Grante Pkwy, #200, Plano, TX
75024.
                                                                                                                                                Master Service List
                                                                                                                                                as of November 11, 2019



                       Name                                          Attention                              Address 1                              Address 2                 Address 3          City       State    Postal Code   Country                                                                            Phone          Fax                      Email
  Alex Rodriguez                                                                             6459 Village Springs Drive                                                                  Plano             TX      75024                                                                                         214-205-3870                  rainmaker84@yahoo.com
  Anthony L.G., PLLC                                Attn: Officer or Director                625 N Flager Dr #600                                                                        West Palm Beach   FL      33401                                                                                                                       LAnthony@AnthonyPLLC.com
  Ashley Gee                                                                                 3314 Rolling Hills                                                                          Flower Mound      TX      75022                                                                                         940-231-3019                  ashleykgee@yahoo.com
  Ashley Steffan                                                                             3313 Rolling Hills                                                                          Flower Mound      TX      75022                                                                                                                       ashleykgee@yahoo.com
  Bellridge Capital                                 Attn: David E. Danovitch                 c/o Sullivan & Worcester LLP           1633 Broadway                                        New York          NY      10019                                                                                         212-660-3060                  ddanovitch@sullivanlaw.com
  Bellridge Capital                                 Attn: Officer or Director                515 E. Las Boulevard #120A                                                                  Fort Lauderdale   FL      33301                                                                                         954-745-7989                  ddanovitch@sullivanlaw.com
  Byron Young                                                                                8616 Heron Dr.                                                                              Ft. Worth         TX      76108                                                                                                                       byrontoddyoung@icloud.com
  CliftonLarsonAllen                                Attn: Officer or Director                9901, I-10 Suite 350                                                                        San Antonio       TX      78230                                                                                         210-298-7900                  deana.acosta@CLAconnect.com
  Collision Capital                                 Attn: Officer or Director                4830 W. Kennedy Blvd. #600                                                                  Tampa             FL      33609                                                                                         813-258-0852
                                                                                                                                                                                                                                                                                                                                           jcolvin@jcolvinlaw.com;
  Donnie “Tug” Goodwin                              c/o Joel B. Colvin                       3605 Katy Freeway #224                                                                      Houston           TX      77007                                                                                         713-426-5151              joelc@ctchouston.com
  EMA Financial, LLC                                Attn: Officer or Director                40 Wall St.                                                                                 New York          NY      10005                                                                                         212-453-0020              info@emafin.com
  Foley & Lardner LLP                               Attn: Jack G. Haake                      Washington Harbour                     3000 K Street, N.W., Suite 600                       Washington        DC      20007-5109                                                                                    202-295-4085 202-672-5399 jhaake@foley.com




                                                                                                                                                                                                                                  Case
  Foley Gardere                                     Attn: Marcus A. Helt                     c/o Foley & Lardner LLP                2021 McKinney Avenue, Suite 1600                     Dallas            TX      75201                                                                                         214-999-3000 214-999-4667 mhelt@foley.com




                                                                                                                                                                                                                                    Case
  Free & Free Enterprises, LLC                      c/o W.T. Skip Leake PC                 Attn: Donald R. Miller & W.T. Skip Leake PO Box 201786                                        Arlington         TX      76006-1786                                                                                    817-460-7711 817-469-7020 drmiller@leakelaw.com
  Genaro Gomez Castanares                                                                  5868A Westgeuner Rd                      Ste 1-422                                            Houston           TX      77057                                                                                         713-568-3064 832-550-2834 INFO@GFINT.COM
  Greentree Financial Group, Inc.                   Attn: Officer or Director              19720 Jetton Road, 3rd Floor                                                                  Cornelius         NC      28031                                                                                         704-892-8733 704-892-6487 mikebongiovanni@gtfinancial.com




                                                                                                                                                                                                                                       19-42886
                                                    c/o Linebarger Goggan Blair & Sampson,
  Harris County et al.                              LLP                                    Attn: John P. Dillman                    PO Box 3064                                          Houston           TX      77253-3064                                                                                    713-844-3400 713-844-3503 houston_bankruptcy@publicans.com




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  Internal Revenue Service                                                                 825 E. Rundberg Ln                                                                            Austin            TX      78753
  Internal Revenue Service                          Attn: Centralized Insolvency Operation PO Box 7346                                                                                   Philadelphia      PA      19101-7346
  Internal Revenue Service                          Attn: Centralized Insolvency Operation 2970 Market St.                                                                               Philadelphia      PA      19104-5016
  Investor Brand Network                                                                   8033 Sunset Blvd                                                                              Los Angeles       CA      90046                                                                                         310-299-1717
                                                                                                                                                                                                                                                                                                                                           jbklingenbeck@gmail.com;
                                                                                                                                                                                                                                                                                                                                           jklingenbeck@zenergybrands.com;
  John Brooks Klingenbeck                                                                    10 Augusta Way                                                                              Shoal Creek       AL      35242                                                                                         205-617-1482 214-594-5055 jbrooks@whatiszenergy.com
  Liberty Trust Co. LTD                             Custodian FBO Michael A. Ziegler, IRA    1611 Maxwell Ct.                                                                            Euless            TX      76039
  Luminant Energy                                   Attn: Officer or Director                6555 Sierra Drive                                                                           Irving            TX      75039                                                                                         214-812-4600 972-556-6119 steve.rod@vistraenergy.com
  Michael A. Ziegler                                                                         1611 Maxwell Ct.                                                                            Euless            TX      76039                                                                                         817-690-5768              mickziegler@sbcglobal.net




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  Michigan Department of the Attorney General       G. Mennen Williams Building, 7th Floor   525 W Ottawa St                                                                             Lansing           MI      48933                                                                                         517-373-1110
  Michigan Department of Treasury                                                            3060 W. Grand Blvd.                                                                         Detroit           MI      48202




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  Montgomery Coscia Greilich LLP                    Attn: Officer or Director                2500 Dallas Parkway                                                                         Plano             TX      75093                                                                                         972-748-0300 972-748-0700 info@mcggroup.com
                                                                                                                                                                                                                                                                                                                                           John.M.Vardeman@usdoj.gov;




                                                                                                                                                                                                                                                       77 Filed
  Office of the United States Trustee               Attn: Timothy O'Neal & John Vardeman     Bank of America Building               110 North College Avenue, Room 300                   Tyler             TX      75702                                                                                         903-590-1450 903-590-1461 Samuel.M.Baker@usdoj.gov
  Office of the United States Trustee               Earle Cabell Federal Building            1100 Commerce Street, Room 976                                                              Dallas            TX      75242                                                                                         214-767-8967 214-767-8971
  Oklahoma Office of the Attorney General                                                    313 NE 21st St                                                                              Oklahoma City     OK      73105                                                                                         405-521-3921
  Oklahoma Secretary of State                                                                421 NW 13th St #210                                                                         Oklahoma City     OK      73103




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                                                    c/o Financial Industry Regulatory        Attn Angela Nacchio, Qualifications




                                                                                                                                                                                                                                                             Document
  OTCBB                                             Authority                                Analyst                                9509 Key West Ave                                    Rockville         MD      20850                                                                                                                       otc.bankruptcies@finra.org
  RB Capital Partners, Inc.                         Attn: Brett Rosen                        2856 Torrey Pines Road                                                                      La Jolla          CA      92037                                                                                         619-392-9829                  brett.rosen325@gmail.com
  Securities and Exchange Commission                                                         100 F Street, NE                                                                            Washington        DC      20549




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  Securities and Exchange Commission                New York Regional Office                 Attn Andrew Calamari, Regional Director 200 Vesey St Ste 400                                New York          NY      10281-1022
  Sharing Services, Inc. et al                      Attn: Officer or Director                1700 Coit Rd.                           Suite 100                                           Plano             TX      75075                                                                                         469-304-9400                  JT@SHRGINC.COM
  Steven Boss                                                                                10670 N. Central Expy                   Suite 500                                           Dallas            TX      75231                                                                                         214-382-3342                  stevenboss@stevenbosslaw.com
                                                                                                                                     2385 N.W. Executive Center Dr., Suite
  TCA Global Credit Master Fund, L.P.               c/o Shraiberg, Landau & Page, P.A.       Attn: Bradley S. Shraiberg              300                                                 Boca Raton        FL      33431                                                                                         561-443-0800 561-998-0047 bss@slp.law
                                                                                                                                     2385 N.W. Executive Center Dr., Suite
  TCA Special Situations Credit Strategies ICAV     c/o Shraiberg, Landau, Page P.A.         Attn: Bradley S. Shraiberg              300                                                 Boca Raton        FL      33431                                                                                         561-443-0800 561-998-0047 dwoodall@slp.law; bss@slp.law
  Terrence Gray                                                                              2727 Travis St.                         #505                                                Houston           TX      77006                                                                                         347-668-9484




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  Texas Comptroller                                 Lyndon B Johnson State Office Bldg       111 East 17th St                                                                            Austin            TX      78774




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  Texas Comptroller of Public Accounts                                                       PO Box 13528                            Capitol Station                                     Austin            TX      78711-3528




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                                                                                                                                     Attorney General's Office, Bankruptcy & P.O. Box                                                                                                                                                      bk-kwalsh@oag.texas.gov;
  Texas Comptroller of Public Accounts              Attn: Kimberly A. Walsh                  c/o Sherri K. Simpson                   Collections Division                    12548       Austin            TX      78711-2548                                                                                    512-475-4562 512-936-1409 sherri.simpson@oag.texas.gov
  Texas Office of the Attorney General                                                       300 W. 15th St                                                                              Austin            TX      78701                                                                                         512-463-2100
                                                                                                                                     Thomas Jefferson Rusk State Office
  Texas State Securities Board                      Attn Legal Department                    208 E. 10th St.                         Building                                            Austin            TX      78701                                                                                                        512-305-8310
  United States Attorney's Office for the Eastern




                                                                                                                                                                                                                                                                                     11/12/1919:54:29
  District of Texas                                 Joseph D. Brown                          600 East Taylor Street, Suite 2000                                                          Sherman           TX      75090                                                                                         903-868-9454
  Viridian International                            Attn: Officer or Director                1055 Washington Blvd. 7th Floor                                                             West Hartland     CT      06091                                                                                                                       customercare@viridian.com
  Vista Capital Investments                         Attn: David Clark, Principal             406 9th Ave, Suite 201                                                                      San Diego         CA      92101                                                                                         619-543-0328                  dclark@vci.us.com
  Vista Capital Investments                         Attn: David Clark, Principal             406 9th Ave, Suite 201                                                                      San Diego         CA      92101                                                                                         619-543-0328                  dclark@vci.us.com
  Zenergy Brands, Inc.                                                                       5700 Granite Parkway, Suite 200                                                             Plano             TX      75024
  Zenergy Brands, Inc.                                                                       5700 Granite Parkway, Suite 200                                                             Plano             TX      75024




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In re: Zenergy Brands, Inc., et al.
Case No. 19-42886 (BTR)                                                                                                                                                                                                                                                                                    Mai                                                              Page 1 of 1
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                                                                                                                                                     Redlined Version
                                                                                                                                                  as of November 11, 2019


                       Name                                          Attention                              Address 1                               Address 2                   Address 3          City       State    Postal Code   Country                                                                            Phone          Fax                      Email
  Alex Rodriguez                                                                             6459 Village Springs Drive                                                                     Plano             TX      75024                                                                                         214-205-3870                  rainmaker84@yahoo.com
  Ashley Gee                                                                                 3314 Rolling Hills                                                                             Flower Mound      TX      75022                                                                                         940-231-3019                  ashleykgee@yahoo.com
  Ashley Steffan                                                                             3313 Rolling Hills                                                                             Flower Mound      TX      75022                                                                                                                       ashleykgee@yahoo.com
  Bellridge Capital                                 Attn: David E. Danovitch                 c/o Sullivan & Worcester LLP             1633 Broadway                                         New York          NY      10019                                                                                         212-660-3060                  ddanovitch@sullivanlaw.com
  Bellridge Capital                                 Attn: Officer or Director                515 E. Las Boulevard #120A                                                                     Fort Lauderdale   FL      33301                                                                                         954-745-7989                  ddanovitch@sullivanlaw.com
  Byron Young                                                                                8616 Heron Dr.                                                                                 Ft. Worth         TX      76108                                                                                                                       byrontoddyoung@icloud.com
  CliftonLarsonAllen                                Attn: Officer or Director                9901, I-10 Suite 350                                                                           San Antonio       TX      78230                                                                                         210-298-7900                  deana.acosta@CLAconnect.com
  Collision Capital                                 Attn: Officer or Director                4830 W. Kennedy Blvd. #600                                                                     Tampa             FL      33609                                                                                         813-258-0852
                                                                                                                                                                                                                                                                                                                                              jcolvin@jcolvinlaw.com;
  Donnie “Tug” Goodwin                              c/o Joel B. Colvin                       3605 Katy Freeway #224                                                                         Houston           TX      77007                                                                                         713-426-5151              joelc@ctchouston.com
  EMA Financial, LLC                                Attn: Officer or Director                40 Wall St.                                                                                    New York          NY      10005                                                                                         212-453-0020              info@emafin.com
  Foley & Lardner LLP                               Attn: Jack G. Haake                      Washington Harbour                       3000 K Street, N.W., Suite 600                        Washington        DC      20007-5109                                                                                    202-295-4085 202-672-5399 jhaake@foley.com
  Foley Gardere                                     Attn: Marcus A. Helt                     c/o Foley & Lardner LLP                  2021 McKinney Avenue, Suite 1600                      Dallas            TX      75201                                                                                         214-999-3000 214-999-4667 mhelt@foley.com




                                                                                                                                                                                                                                     Case
  Free & Free Enterprises, LLC                      Attn: Officer or Director                PO Box 201786                                                                                  Arlington         TX      76006                                                                                         817-460-7711 817-469-7020 drmiller@leakelaw.com
                                                    c/o Leake Law Firm c/o W.T. Skip Leake                                            2201 North Collins Street, Suite 130 PO                                         76011 76006-




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  Free & Free Enterprises, LLC                      PC                                       Attn: Donald R. Miller & W.T. Skip Leake Box 201786                                            Arlington         TX      1786                                                                                          817-460-7711   817-469-7020   drmiller@leakelaw.com
  Free & Free Enterprises, LLC                      Represented by WT Skip Leake PC          PO Box 201786                                                                                  Arlington         TX      76006                                                                                         817-460-7711   817-469-7020   drmiller@leakelaw.com
  Genaro Gomez Castanares                                                                    5868A Westgeuner Rd                      Ste 1-422                                             Houston           TX      77057                                                                                         713-568-3064   832-550-2834   INFO@GFINT.COM




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  Greentree Financial Group, Inc.                   Attn: Officer or Director                19720 Jetton Road, 3rd Floor                                                                   Cornelius         NC      28031                                                                                         704-892-8733   704-892-6487   mikebongiovanni@gtfinancial.com
                                                    c/o Linebarger Goggan Blair & Sampson,




                                                                                                                                                                                                                                            19-42886Doc
  Harris County et al.                              LLP                                    Attn: John P. Dillman                      PO Box 3064                                           Houston           TX      77253-3064                                                                                    713-844-3400 713-844-3503 houston_bankruptcy@publicans.com
  Internal Revenue Service                          Attn: Centralized Insolvency Operation PO Box 7346                                                                                      Philadelphia      PA      19101-7346
  Internal Revenue Service                          Attn: Centralized Insolvency Operation 2970 Market St.                                                                                  Philadelphia      PA      19104-5016
  Internal Revenue Service                                                                 825 E. Rundberg Ln                                                                               Austin            TX      78753
  Investor Brand Network                                                                   8033 Sunset Blvd                                                                                 Los Angeles       CA      90046                                                                                         310-299-1717
                                                                                                                                                                                                                                                                                                                                              jbklingenbeck@gmail.com;
                                                                                                                                                                                                                                                                                                                                              jklingenbeck@zenergybrands.com;
  John Brooks Klingenbeck                                                                    5700 Granite Pkwy 10 Augusta Way         Suite 200                                             Plano Shoal Creek TX AL 75024 35242                                                                                     205-617-1482 214-594-5055 jbrooks@whatiszenergy.com

  Legal and Compliance LLC Anthony L.G., PLLC       Attn: Officer or Director                625 N Flager Dr #600                                                                           West Palm Beach   FL      33401                                                                                                                       LAnthony@AnthonyPLLC.com




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  Librerty Trust Co. LTD                            Custodian FBO Michael A. Ziegler, IRA    1611 Maxwell Ct.                                                                               Euless            TX      76039
  Luminant Energy                                   Attn: Officer or Director                6555 Sierra Drive                                                                              Irving            TX      75039                                                                                         214-812-4600 972-556-6119 steve.rod@vistraenergy.com




                                                                                                                                                                                                                                                        80-3
  Michael A. Ziegler                                                                         1611 Maxwell Ct.                                                                               Euless            TX      76039                                                                                         817-690-5768              mickziegler@sbcglobal.net
  Michigan Department of the Attorney General       G. Mennen Williams Building, 7th Floor   525 W Ottawa St                                                                                Lansing           MI      48933                                                                                         517-373-1110




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  Michigan Department of Treasury                                                            3060 W. Grand Blvd.                                                                            Detroit           MI      48202
  Montgomery Coscia Greilich LLP                    Attn: Officer or Director                2500 Dallas Parkway                                                                            Plano             TX      75093                                                                                         972-748-0300 972-748-0700 info@mcggroup.com

                                                                                                                                                                                                                                                                                                                                              John.M.Vardeman@usdoj.gov;




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  Office of the United States Trustee               Attn: Timothy O'Neal & John Vardeman     Bank of America Building                 110 North College Avenue, Room 300                    Tyler             TX      75702                                                                                         903-590-1450 903-590-1461 Samuel.M.Baker@usdoj.gov




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  Office of the United States Trustee               Earle Cabell Federal Building            1100 Commerce Street, Room 976                                                                 Dallas            TX      75242                                                                                         214-767-8967 214-767-8971
  Oklahoma Office of the Attorney General                                                    313 NE 21st St                                                                                 Oklahoma City     OK      73105                                                                                         405-521-3921
  Oklahoma Secretary of State                                                                421 NW 13th St #210                                                                            Oklahoma City     OK      73103




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                                                    c/o Financial Industry Regulatory        Attn Angela Nacchio, Qualifications




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  OTCBB                                             Authority                                Analyst                                  9509 Key West Ave                                     Rockville         MD      20850                                                                                                                       otc.bankruptcies@finra.org

  RB Capital Partners, Inc.                         Attn: Officer or Director Brett Rosen    2856 Torrey Pines Road                                                                         La Jolla          CA      92037                                                                                         619-392-9829                  brett.rosen325@gmail.com

  Securities and Exchange Commission                New York Regional Office                 Attn Andrew Calamari, Regional Director 200 Vesey St Ste 400                                   New York          NY      10281-1022
  Securities and Exchange Commission                                                         100 F Street, NE                                                                               Washington        DC      20549
  Sharing Services, Inc. et al                      Attn: Officer or Director                1700 Coit Rd.                           Suite 100                                              Plano             TX      75075                                                                                         469-304-9400                  JT@SHRGINC.COM
  Steven Boss                                                                                10670 N. Central Expy                   Suite 500                                              Dallas            TX      75231                                                                                         214-382-3342                  stevenboss@stevenbosslaw.com




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                                                                                                                                     2385 N.W. Executive Center Dr., Suite




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  TCA Global Credit Master Fund, L.P.               c/o Shraiberg, Landau & Page, P.A.       Attn: Bradley S. Shraiberg              300                                                    Boca Raton        FL      33431                                                                                         561-443-0800 561-998-0047 bss@slp.law




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                                                                                                                                     2385 N.W. Executive Center Dr., Suite
  TCA Special Situations Credit Strategies ICAV     c/o Shraiberg, Landau, Page P.A.         Attn: Bradley S. Shraiberg              300                                                    Boca Raton        FL      33431                                                                                         561-443-0800 561-998-0047 dwoodall@slp.law; bss@slp.law
  Terrence Gray                                                                              2727 Travis St.                         #505                                                   Houston           TX      77006                                                                                         347-668-9484
  Texas Comptroller                                 Lyndon B Johnson State Office Bldg       111 East 17th St                                                                               Austin            TX      78774
                                                                                                                                     Attorney General's Office, Bankruptcy & P.O. Box                                                                                                                                                         bk-kwalsh@oag.texas.gov;
  Texas Comptroller of Public Accounts              Attn: Kimberly A. Walsh                  c/o Sherri K. Simpson                   Collections Division                    12548          Austin            TX      78711-2548                                                                                    512-475-4562 512-936-1409 sherri.simpson@oag.texas.gov




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  Texas Comptroller of Public Accounts                                                       PO Box 13528                            Capitol Station                                        Austin            TX      78711-3528
  Texas Office of the Attorney General                                                       300 W. 15th St                                                                                 Austin            TX      78701                                                                                         512-463-2100
                                                                                                                                     Thomas Jefferson Rusk State Office
  Texas State Securities Board                      Attn Legal Department                    208 E. 10th St.                         Building                                               Austin            TX      78701                                                                                                        512-305-8310
  United States Attorney's Office for the Eastern
  District of Texas                                 Joseph D. Brown                          600 East Taylor Street, Suite 2000                                                             Sherman           TX      75090                                                                                         903-868-9454
  Viridian International                            Attn: Officer or Director                1055 Washington Blvd. 7th Floor                                                                West Hartland     CT      06091                                                                                                                       customercare@viridian.com
  Vista Capital Investments                         Attn: David Clark, Principal             406 9th Ave, Suite 201                                                                         San Diego         CA      92101                                                                                         619-543-0328                  dclark@vci.us.com




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  Zenergy Brands, Inc.                                                                       5700 Granite Parkway, Suite 200                                                                Plano             TX      75024




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In re: Zenergy Brands, Inc., et al.
Case No. 19-42886 (BTR)                                                                                                                                                                                                                                                                                       Mai                                                              Page 1 of 1
